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                                                                  Filed: September 25, 2024


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                             ________________________________

                    BRIEFING ORDER - CIVIL/AGENCY CROSS APPEAL
                           _________________________________

        No. 24-1799 (L), Susannah Kipke v. Wes Moore
                         1:23-cv-01293-GLR


        Susannah Warner Kipke, Maryland State Rifle and Pistol Association,
        Incorporated, Sue Burke, Firearms Policy Coalition, Maryland Shall Issue,
        Incorporated, Katherine Novotny, Esther Rossberg and Second Amendment
        Foundation shall be considered the appellants for the purposes of this briefing
        schedule. Briefing shall proceed on the following schedule:


        JOINT APPENDIX due: 11/04/2024

        BRIEF [Opening] due: 11/04/2024

        BRIEF [Opening/response] due: 12/04/2024

        BRIEF [Response/reply] due: 01/03/2025

        BRIEF [Reply] (if any) due: Within 21 days of service of response/reply brief.


        The following rules apply under this schedule:

           •   Filings must conform to the Fourth Circuit Brief & Appendix
               Requirements as to content, format, and copies. The Requirements are
               available as a link from this order and at www.ca4.uscourts.gov. FRAP 28,
               30 & 32.
           •   The joint appendix must be paginated using Bates page numbering and the
               JA or J.A. format required by the Fourth Circuit Appendix Pagination &
               Brief Citation Guide. Appendix citations in the parties' briefs must use the
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               same format. Local Rules 28(g) & 30(b)(4).
           •   All parties to a side must join in a single brief, even in consolidated cases,
               unless the court has granted a motion for leave to file separate briefs. Local
               Rules 28(a) & 28(d).
           •   Motions for extension of time should be filed only in extraordinary
               circumstances upon a showing of good cause. Local Rule 31(c).
           •   If a brief is filed in advance of its due date, the filer may request a
               corresponding advancement of the due date for the next brief by filing a
               motion to amend the briefing schedule.
           •   If a brief is filed after its due date, the time for filing subsequent briefs will
               be extended by the number of days the brief was late.
           •   Failure to file an opening brief within the scheduled time may lead to
               dismissal of the case and imposition of sanctions against counsel. Local
               Rules 45 & 46(g).
           •   Failure to file a response brief may result in loss of the right to be heard at
               argument. FRAP 31(c).
           •   If a case has not been scheduled for a mediation conference, but counsel
               believes such a conference would be beneficial, counsel should contact the
               Office of the Circuit Mediator directly at 843-731-9099, and a mediation
               conference will be scheduled. In such a case, the reason for scheduling the
               conference will be kept confidential. Local Rule 33.
           •   The court may, on its own initiative and without prior notice, screen an
               appeal for decision on the parties' briefs without oral argument. Local Rule
               34(a).
           •   If a case is to be scheduled for argument, counsel will receive prior notice
               from the court.

                                           /s/ NWAMAKA ANOWI, CLERK
                                           By: Kirsten Hancock, Deputy Clerk
